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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

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                                   8     IN RE                                             Case No. 5:18-cv-01725-EJD
                                         FACEBOOK, INC. SECURITIES
                                   9     LITIGATION                                        ORDER GRANTING DEFENDANTS’
                                                                                           MOTION TO DISMISS THIRD
                                  10                                                       AMENDED COMPLAINT WITHOUT
                                                                                           LEAVE TO AMEND
                                  11
                                                                                           Re: Dkt. No. 145
                                  12
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                                  13          Before the Court is Defendants’ motion to dismiss Plaintiffs’ third amended complaint.

                                  14   Plaintiffs are person who purchased shares of Facebook common stock between February 3, 2017

                                  15   and July 25, 2018 (“the Class Period”), who believe that Defendant Facebook, Inc. and Executive

                                  16   Defendants Mark Zuckerberg, Sheryl K. Sandberg, and David W. Wehner made materially false

                                  17   and misleading statements and omissions in connection with the purchase and sale of Facebook

                                  18   stock. See Third Amended Complaint (“TAC”) ¶ 1, Dkt. No. 142. Plaintiffs allege that

                                  19   Defendants violated Section 10(b), 20(a), and 20A of the Securities Exchange Act of 1934 (the

                                  20   “Exchange Act”) and Rule 10b5 promulgated thereunder because Defendants made guarantees

                                  21   that users had control over the sharing of their user data, while knowing that to not be true because

                                  22   of the Cambridge Analytica data breach and the practice of “whitelisting” certain applications.

                                  23   TAC ¶ 1 (focusing on Defendants’ statements and omissions concerning Facebook’s “privacy and

                                  24   data protection practices”).

                                  25          Defendants have filed a motion to dismiss, arguing that Plaintiffs have failed for a third

                                  26   time to meet Federal Rule of Civil Procedure 9(b)’s heightened pleading requirements for

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                                   1   securities fraud. The Court agrees. Plaintiffs have failed to remedy the problems identified by the

                                   2   Court in its prior dismissal order. See Order Granting Defendants’ Motion to Dismiss with Leave

                                   3   to Amend (“August 2020 Order”), Dkt. No. 137. The Court therefore GRANTS Defendants’

                                   4   motion to dismiss without leave to amend.

                                   5      I.      BACKGROUND

                                   6           Rather than repeat the background of this case for a third time, the Court refers the Parties

                                   7   to its prior orders. To the extent the Parties ask the Court to alter its previous rulings, the Court

                                   8   declines and AFFIRMS those rulings herein.

                                   9           On October 15, 2018, Plaintiffs filed their Consolidated Class Action Complaint. See Dkt.

                                  10   No. 86. On September 25, 2019, this Court granted Defendants’ motion to dismiss the

                                  11   consolidated complaint after finding that Plaintiffs had failed to carry their burden to plead falsity

                                  12   and scienter. The Court did not address reliance or loss causation in that order. Order Granting
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                                  13   Defendants’ Motion to Dismiss, Dkt. No. 118.

                                  14           Plaintiffs filed their second amended complaint on November 15, 2019. See Dkt. No. 123

                                  15   (“SAC”). On August 7, 2020, this Court again granted Defendants’ motion to dismiss the

                                  16   complaint after finding that Plaintiffs failed to carry their burden to plead falsity, scienter, and loss

                                  17   causation. August 2020 Order. This Court gave Plaintiffs one last opportunity to cure the

                                  18   deficiencies identified by the Court.

                                  19           On October 16, 2020, Plaintiffs filed their third amended complaint. Defendants moved to

                                  20   dismiss the third amended complaint on December 18, 2020. Motion to Dismiss Third Amended

                                  21   Class Action Complaint (“Mot.”), Dkt. No. 145. Plaintiffs filed an opposition. Lead Plaintiffs’

                                  22   Memorandum of Points and Authorities in Opposition (“Opp.”), Dkt. No. 153. Defendants then

                                  23   filed a reply. Reply in Support of Defendants’ Motion to Dismiss (“Reply”), Dkt. No. 158. On

                                  24   September 30, 2021, this Court granted Defendants’ motion to strike portions of Plaintiffs’ third

                                  25   amended complaint. See Dkt. No. 166. Pursuant to that order, this Court will not consider Dr.

                                  26   Cain’s opinions set forth in paragraphs 722 through 724 of the TAC and any other portions of the

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                                   1   TAC that rely on those opinions.

                                   2      II.      DISCUSSION

                                   3               A. Legal Standard

                                   4            To survive a Rule 12(b)(6) motion to dismiss, a complaint must contain sufficient factual

                                   5   matter to “state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

                                   6   (2009); Fed. R. Civ. Pro. 8(a). Threadbare recitals of the elements of a cause of action supported

                                   7   by mere conclusory statements do not suffice. Ashcroft, 556 U.S. at 678.

                                   8            To show securities fraud under Section 10(b) and Rule 10b-5, plaintiffs must allege facts

                                   9   sufficient to establish (1) a material misrepresentation or omission, (2) made with scienter, i.e., a

                                  10   wrongful state of mind, (3) a connection between the misrepresentation and the purchase or sale of

                                  11   a security; (4) reliance upon the misrepresentation; (5) economic loss; and (6) loss causation.

                                  12   Loos v. Immersion Corp., 762 F.3d 880 (9th Cir. 2014), amended (Sept. 11, 2014). “To determine
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                                  13   whether a private securities fraud complaint can survive a motion to dismiss for failure to state a

                                  14   claim, the court must determine whether particular facts in the complaint, taken as a whole, raise a

                                  15   strong inference that defendants intentionally or with deliberate recklessness made false or

                                  16   misleading statements to investors.” In re LeapFrog Enter., Inc. Sec. Litig., 527 F. Supp. 2d 1033,

                                  17   1039–40 (N.D. Cal. 2007).

                                  18            The pleading standard in securities fraud cases is heightened. Complaints alleging

                                  19   securities fraud must meet the plausibility standard, the Private Securities Litigation Reform Act

                                  20   (“PSLRA”), and Federal Rule of Civil Procedure 9(b)’s higher pleading standard. See Tellabs,

                                  21   Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 319–22 (2007); Zucco Partners, LLC v.

                                  22   Digimarc, Corp., 552 F.3d 981, 991 (9th Cir. 2009). The PSLRA mandates that securities fraud

                                  23   complaints (1) specify each misleading statement, (2) set forth the facts “‘on which [a] belief’”

                                  24   that a statement was misleading was “‘formed,’” (3) and “state with particularity facts giving rise

                                  25   to a strong inference that the defendant acted with the required state of mind [i.e., scienter].” Dura

                                  26   Pharm., Inc. v. Broudo, 544 U.S. 336, 345 (2005) (quoting 15 U.S.C. §§ 78u–4(b)(1)–(2)).

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                                   1   Plaintiffs bear the burden of proving that the defendant’s misrepresentations “caused the loss for

                                   2   which the plaintiff seeks to recover.” Id. In determining whether a “strong inference” of scienter

                                   3   has been sufficiently alleged, this Court must not only draw “inferences urged by the plaintiff,”

                                   4   but must also engage in a “comparative evaluation,” and examine and consider “competing

                                   5   inferences [in defendants’ favor] drawn from the facts alleged.” Tellabs, 551 U.S. at 314. Hence,

                                   6   scienter must not only be “plausible or reasonable,” it must also be “cogent or at least as

                                   7   compelling as any opposing inference of nonfraudulent intent.” Id. at 324. Federal Rule of Civil

                                   8   Procedure 9(b) further requires a plaintiff pleading securities fraud to state, with particularity, the

                                   9   circumstances constituting fraud or mistake.

                                  10               B. Defendants’ Motion to Dismiss

                                  11           In their motion to dismiss, Defendants argue that Plaintiffs have not remedied the problems

                                  12   identified by the Court in its earlier orders.
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                                  13           In its August 2020 order, this Court identified two theories of securities fraud in Plaintiffs’

                                  14   SAC. First, Plaintiffs alleged that Executive Defendants knowingly made misleading statements

                                  15   regarding the Cambridge Analytica data breach. Plaintiffs argued that Executive Defendants

                                  16   knowingly made false statements regarding the Cambridge Analytica breach because Facebook

                                  17   knew Cambridge Analytica was still misusing the misappropriated data. This Court held that

                                  18   Plaintiffs had failed to allege falsity because the complaint indicated that Cambridge Analytica

                                  19   and Mr. Kogan certified to Facebook that they had deleted the misappropriated data and Plaintiffs

                                  20   had not shown a reason why Executive Defendants would know that the deletion certifications

                                  21   were false. Second, Plaintiffs alleged that Executive Defendants knowingly made misleading

                                  22   statements that users had complete control over their data. Plaintiffs maintained that these

                                  23   statements were false because of Facebook’s whitelisting practice, a data-sharing reciprocity

                                  24   practice for certain “whitelisted applications” that was organized by Executive Defendants. The

                                  25   Court agreed that Plaintiffs had demonstrated falsity, scienter, and reliance as to this theory of

                                  26   fraud, but held that Plaintiffs had failed to plead loss causation.

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                                   1          The Court must again dismiss Plaintiffs’ two theories of securities fraud. While the

                                   2   amended complaint alleges that Facebook “embedded” employees in the Trump campaign, there

                                   3   are no allegations that demonstrate the employees knew that misappropriated data was being used

                                   4   or that the employees reported the misuse to Executive Defendants. Additionally, the amended

                                   5   complaint does not demonstrate loss causation as to the whitelisting theory of fraud. Because

                                   6   Plaintiffs have not cured the problems identified in this Court’s August 2020 Order, the Court

                                   7   GRANTS Defendants’ motion to dismiss Plaintiffs’ third amended complaint without leave to

                                   8   amend.

                                   9              C. Discussion

                                  10                  1. The Cambridge Analytica Data Breach

                                  11          As discussed in the August 2020 Order, Plaintiffs argue that Executive Defendants made

                                  12   false or misleading statements about (1) the risks facing Facebook after the Cambridge Analytica
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                                  13   data breach and (2) the results of Facebook’s investigation into Cambridge Analytica’s work on

                                  14   the Brexit and Trump campaigns. TAC ¶¶ 298–309. This Court previously determined that this

                                  15   theory of security fraud fails because at the time these statements were made, Facebook had reason

                                  16   to believe that Cambridge Analytica and Alexander Kogan had deleted the misappropriated data

                                  17   and that the misappropriated data was no longer being misused. See August 2020 Order at 33–35,

                                  18   43. The Court determined that for Plaintiffs to cure this theory, they must demonstrate that

                                  19   Executive Defendants knew or should have known these certifications were false by “alleging,

                                  20   among other things, that Facebook “embedded” employees in the 2016 Trump campaign and thus

                                  21   knew that the deletion certifications were false.” August 2020 Order at 66.

                                  22          Like the SAC, Plaintiffs allege that Facebook made materially false and misleading

                                  23   statements about the risks facing the company by stating that business and reputation harm could

                                  24   occur if a third party were to improperly access and use sensitive user data. Plaintiffs allege that

                                  25   these “risk factor” statements were false when made because Cambridge Analytica was already

                                  26   using misappropriated user data. TAC ¶¶ 335–40. Plaintiffs also allege that Facebook

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                                   1   misleadingly stated in March 2017 that its “investigation to date ha[d] not uncovered anything that

                                   2   suggests wrongdoing with respect to Cambridge Analytica’s work on the [Brexit] and Trump

                                   3   campaigns.” TAC ¶ 299. Plaintiffs maintain that these statements were false when made because

                                   4   Facebook had “embedded” employees in the two respective campaigns and thus Executive

                                   5   Defendants knew or should have known that the misappropriated data was still being misused and

                                   6   that Facebook was presently facing risks due to the continued use of misappropriated data. TAC

                                   7   ¶¶ 238–44.

                                   8                       a. Legal Standard

                                   9           As discussed above, to state a claim under Section 10(b) and Rule 10b-5, a complaint must

                                  10   plausibly allege: “(1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

                                  11   connection between the misrepresentation or omission and the purchase or sale of a security; (4)

                                  12   reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.”
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                                  13   Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 267 (2014) (citations omitted). A

                                  14   complaint must “satisfy the dual pleading requirements of Federal Rule of Civil Procedure 9(b)

                                  15   and the PSLRA” to state a securities fraud claim. Zucco Partners, 552 F.3d at 990. Federal Rule

                                  16   of Civil Procedure 9(b) requires a plaintiff to “state with particularity the circumstances

                                  17   constituting fraud,” and the PSLRA extends this particularity requirement to allegations of

                                  18   scienter. See 15 U.S.C. § 78u–4(b)(2)(A) (“[T]he complaint shall, with respect to each act or

                                  19   omission alleged . . . , state with particularity facts giving rise to a strong inference that the

                                  20   defendant acted with the required state of mind.”); see also Kearns v. Ford Motor Co., 567 F.3d

                                  21   1120, 1124 (9th Cir. 2009) (“Averments of fraud must be accompanied by the who, what, when,

                                  22   where, and how of the misconduct alleged.” (citations and quotation marks omitted)).

                                  23           To support a “strong inference” of scienter under the PSLRA, a complaint must allege that

                                  24   the defendant made false or misleading statements with an “intent to deceive, manipulate, or

                                  25   defraud” or with deliberate recklessness. City of Dearborn Heights Act 345 Police & Fire Ret.

                                  26   Sys. v. Align Tech., Inc., 856 F.3d 605, 619 (9th Cir. 2017) (citation omitted). Deliberate

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                                   1   recklessness is an “extreme departure from the standards of ordinary care . . . which presents a

                                   2   danger of misleading buyers or sellers that is either known to the defendant or is so obvious that

                                   3   the actor must have been aware of it.” Schueneman v. Arena Pharms., Inc., 840 F.3d 698, 705

                                   4   (9th Cir. 2016). The “strong inference” standard “present[s] no small hurdle for the securities

                                   5   fraud plaintiff.” Id. (citation omitted). When determining whether Plaintiff has alleged a “strong

                                   6   inference” of scienter, this court must “engage in a comparative evaluation [and] . . . consider, not

                                   7   only inferences urged by the plaintiff . . . but also competing inferences rationally drawn from the

                                   8   facts alleged.” Tellabs, 551 U.S. at 314. A complaint will survive a motion to dismiss “only if a

                                   9   reasonable person would deem the inference of scienter cogent and at least as compelling as any

                                  10   opposing inference one could draw from the facts alleged.” Id. at 324.

                                  11                      b. Analysis

                                  12          In its August 2020 Order, this Court directed Plaintiffs to plead “specific facts” showing
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                                  13   that Defendants knew that GSR and Cambridge Analytica did not delete the relevant data or that

                                  14   Defendants should have known that the misappropriated data was not deleted. August 2020 Order

                                  15   at 35, 43–44. Plaintiffs attempt to meet this burden by alleging that because three Facebook

                                  16   employees worked with Cambridge Analytica on the Trump campaign, Executive Defendants

                                  17   knew or should have known that Cambridge Analytica continued to use the misappropriated data.

                                  18          To accept Plaintiffs’ theory of knowledge, this Court would have to find:

                                  19      •   The three employees “embedded” in the Trump campaign knew the contents of Cambridge

                                  20          Analytica’s deletion certifications, even though those certifications were provided to other

                                  21          employees in another department more than six months earlier. TAC ¶ 32 (alleging in

                                  22          December 2017, Facebook had 25,105 employees).

                                  23      •   These three employees saw the “psychographic stuff” that was allegedly derived from the

                                  24          misappropriated data because they were “seated next to” Cambridge Analytica employees.

                                  25          TAC ¶ 235.

                                  26      •   After seeing the “psychographic stuff,” the employees would have known that Cambridge

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                                   1           Analytica was still using the misappropriated data, despite its certifications to the contrary.

                                   2           TAC ¶ 237 (“Thus, when they saw and heard discussions about ‘psychographics,’ they

                                   3           would have known Cambridge Analytica was still using the misappropriated data that

                                   4           violated Facebook’s policies.”).

                                   5       •   Once the employees figured out that Cambridge Analytica was still misusing the data, they

                                   6           would have reported Cambridge Analytica’s wrongdoing up the chain to the Executive

                                   7           Defendants. TAC ¶¶ 273, 281 (alleging that top management knew about the “embedded”

                                   8           employees).

                                   9           Problematically, the TAC pleads no facts (1) that the “embedded” employees knew that

                                  10   Cambridge Analytica had certified it was no longer using the misappropriated data and thus would

                                  11   have been alerted to the problematic nature of its use, (2) that the employees alerted Executive

                                  12   Defendants about any use of misappropriated data by the Trump campaign, or (3) that at the time
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                                  13   the employees were “embedded” in the campaign, the Executive Defendants knew that Cambridge

                                  14   Analytica was working on a “gigantic dataset” such that they should have known that the deletion

                                  15   certifications were false. Plaintiffs’ general allegations that the “embedded” employees “would

                                  16   have” known about the violations, that they “would have” reported the violations, or that

                                  17   Executive Defendants “would have” known about Cambridge Analytica’s data use are too

                                  18   speculative and fail to demonstrate actual knowledge. See Metzler Inv. GMBH v. Corinthian

                                  19   Colls., Inc., 540 F.3d 1049, 1068 (9th Cir. 2008) (“[C]orporate management’s general awareness

                                  20   of the day-to-day workings of the company’s business does not establish scienter—at least absent

                                  21   some additional allegations of specific information conveyed to management and related to the

                                  22   fraud.”); see also In re Northpoint Commc’ns Grp., Inc. Sec. Litig., 184 F. Supp. 2d 991, 1005

                                  23   (N.D. Cal. 2001) (“The PSLRA clearly establishes a preference for facts over such inferential

                                  24   leaps.”).

                                  25           Plaintiffs attempt to show knowledge by alleging facts about an “investigation team”

                                  26   employed by Facebook. See Opp. at 9–12 (alleging that Facebook’s investigation team was aware

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                                   1   of Cambridge Analytica’s misuse of data and that the team collected “additional facts” that

                                   2   Cambridge Analytica was continuing to misuse the user data). First, Plaintiffs claim that

                                   3   Executive Defendants were “involved in discussions” regarding the “Cambridge Analytica

                                   4   investigation,” Opp. at 8, but the paragraphs of the TAC identified only speculate about Executive

                                   5   Defendants role in the investigation and do not demonstrate that it was unreasonable for Executive

                                   6   Defendants to rely on the deletion certifications. See ¶¶ 35 (Defendant Sandberg is the Chief

                                   7   Operating Officer), 161–63 (detailing public relations response to the 2015 The Guardian article

                                   8   broke to demonstrate that Defendant Sandberg was included in this response and would have

                                   9   known about any investigation into Cambridge Analytica), 203–04 (testimony by Defendant

                                  10   Zuckerberg that Cambridge Analytica told Facebook that they had deleted the misappropriated

                                  11   data), 249 n.262 (testimony from Defendant Zuckerberg that Cambridge Analytica certified

                                  12   deletion in both an email and in a full legal contract), 268 (alleging that the investigation team
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                                  13   reviewed and circulated an article in The Washington Post about Kogan’s use of social media on

                                  14   campaigns).1

                                  15          Second, Plaintiffs contend that the temporal proximity between a meeting involving the

                                  16   Executive Defendants and certain conservative political operatives on May 18, 2016 and the

                                  17   employee “embedding” demonstrates that the Executive Defendants knew about Cambridge

                                  18   Analytica’s continued use of the misappropriated data. Opp. at 7–8. Yet, there are no allegations

                                  19   that demonstrate that Executive Defendants discussed Cambridge Analytica, its use of the

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                                         The Court does not reach Plaintiffs’ “red flag” theories of scienter. See Opp. at 11–16. Because
                                  22   Plaintiffs have not pled sufficient facts that connect Executive Defendants to the “embedded”
                                       employees, it is irrelevant whether the “embedded” employees should have known that Cambridge
                                  23   Analytica’s use of Facebook User IDs, though publicly available, and filenames demonstrated that
                                       Cambridge Analytica had not deleted the misappropriated data. Opp. at 13. Further, the 2016
                                  24   Cambridge Analytica presentation and the 2016 The Washington Post article cited by Plaintiff do
                                       not focus on Facebook’s role in Cambridge Analytica’s data use. On the contrary, the article does
                                  25   not even mention Facebook and Facebook’s logo appears on just one slide in the presentation,
                                       alongside 11 other technology companies. See TAC ¶¶ 265, 269. Thus, that Facebook discussed
                                  26   the article is not enough to demonstrate that Executive Defendants extrapolated from the article
                                       that Cambridge Analytica was still misusing the data (and it seems unlikely that Mr. Kogan would
                                  27   publicly admit to such misuse). TAC ¶ 268.
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                                   1   misappropriated data, or any plot to “embed” employees to aid Cambridge Analytica with using

                                   2   the misappropriated data. Indeed, there are no allegations connecting Cambridge Analytica to this

                                   3   meeting. Instead, the complaint alleges that Executive Defendants engaged with the Trump

                                   4   campaign as to advertisements and considered the campaign to be important for advertisement

                                   5   revenue. See TAC ¶¶ 188–92, 223 (Defendant Sandberg stated that “the 2016 election is a big

                                   6   deal in terms of ad spend.”). Moreover, the temporal proximity between the meeting and the

                                   7   embedding, without more, does not establish scienter. See Yourish v. Cal. Amplifier, 191 F.3d

                                   8   983, 997 (9th Cir. 1999) (“We have allowed the temporal proximity of an allegedly fraudulent

                                   9   statement or omission and a later disclosure to bolster a complaint, but we have never allowed the

                                  10   temporal proximity between the two, without more, does not create an inference that the earlier

                                  11   statements were fraudulent.” (cleaned up)); see also Fecht v. Price Co., 70 F.3d 1078, 1083–84

                                  12   (9th Cir. 1995).
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                                  13          Third, Plaintiffs argue that the Executive Defendants must have known that Cambridge

                                  14   Analytica continued to use the misappropriated data because the Trump campaign was a “big

                                  15   deal” to Facebook. Opp. at 8; TAC ¶¶ 180–81, 223. But general allegations about the Trump

                                  16   campaign being a big deal for advertisement revenue fails to show that Executive Defendants

                                  17   knew that Cambridge Analytica was continuing to use the misappropriated data to aid the Trump

                                  18   campaign. See Prodanova v. H.C. Wainwright & Co., LLC, 993 F.3d 1097, 1109 (9th Cir. 2021)

                                  19   (“[G]eneralized allegations fail to show that that [the defendant] had direct involvement in the

                                  20   [alleged falsity].”); Metzler, 540 F.3d at 1068. Further, to the extent Plaintiffs are pursuing a “core

                                  21   operations” theory to argue that the Trump campaign was of “such prominence that it would be

                                  22   absurd to suggest that management was without knowledge of the matter,” S. Ferry LP, No. 2. v.

                                  23   Killinger, 542 F.3d 776, 786 (9th Cir. 2008), Plaintiffs still must allege facts that demonstrate that

                                  24   Executive Defendants knew about Cambridge Analytica’s involvement in the Trump campaign

                                  25   (and its use of the misappropriated data). See Police Ret. Sys. of St. Louis v. Intuitive Surgical,

                                  26   Inc., 759 F.3d 1051, 1062 (9th Cir. 2014) (“Proof under [the core operations] theory is not easy.

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                                   1   A plaintiff must produce either specific admissions by one or more corporate executives of

                                   2   detailed involvement in the minutia of a company’s operations, such as data monitoring; or

                                   3   witness accounts demonstrating that executives had actual involvement in creating false reports.”

                                   4   (citations omitted)); cf. In re Quality Sys., Inc. Sec. Litig., 865 F.3d 1130, 1145 (9th Cir. 2017)

                                   5   (holding that scienter adequately pled where complaint included multiple statements from

                                   6   confidential witnesses that established that members of executive-level management, including the

                                   7   defendants, had access to and used reports documenting sales declines).

                                   8          Finally, Plaintiffs allege that in January 2016, Facebook learned “more facts showing

                                   9   serious, continuing policy violations and wrongdoing,” regarding Cambridge Analytica’s work on

                                  10   the Trump campaign. TAC ¶¶ 300–09; Opp. at 5–6. Plaintiffs argue that this demonstrates that

                                  11   Facebook knowingly made false statements that it had not uncovered any evidence of wrongdoing

                                  12   on the Trump campaign. TAC ¶¶ 301–02. Problematically, the speaker of this statement is not an
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                                  13   individual defendant. See Galzer Cap. Mgmt., LP v. Magistri, 549 F.3d 736, 745 (9th Cir. 2008)

                                  14   (declining to adopt the theory of collective scienter and holding that the PSLRA requires a

                                  15   plaintiff to “plead scienter with respect to those individuals who actually made the false

                                  16   statements”). However, to the extent the speaker of this statement can be connected to the

                                  17   Executive Defendants, Plaintiffs have failed to connect Executive Defendants to the investigation

                                  18   into Cambridge Analytica or show that Executive Defendants knew that Cambridge Analytica

                                  19   continued to use the misappropriated data. TAC ¶¶ 161–79 (outlining investigation but failing to

                                  20   allege that Executive Defendants learned that Cambridge Analytica had not deleted the

                                  21   misappropriated data). Without such allegations, Plaintiffs have not shown that Executive

                                  22   Defendants acted with knowledge or deliberate recklessness in certifying that Facebook had not

                                  23   uncovered any wrongdoing. Prodanova, 993 F.3d at 1108 (“The SAC pleads no facts alleging

                                  24   that [Defendant] knew about the Offering when he authored the Report. There is thus no factual

                                  25   basis for the allegation that he acted with knowledge or deliberate recklessness.” (emphasis

                                  26   added)); see also Declaration of Brian M. Lutz, Dkt. No. 146 at Exhibit 7 ¶¶ 42–43 (“Facebook

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                                   1   had no specific mechanism to summarize or report violations of its Platform Policy . . . . As a

                                   2   result, Facebook senior management and relevant legal staff did not assess the scope, business

                                   3   impact, or legal implications of the researcher’s improper transfer of data to Cambridge[.]”

                                   4   (emphasis added)).2

                                   5          Accordingly, Plaintiffs have failed to establish that Defendants knew that Cambridge

                                   6   Analytica was using the misappropriated data after Facebook obtained deletion certifications.

                                   7   Plaintiffs therefore have not established scienter as to statements made by Defendants about the

                                   8   Cambridge Analytica data breach.

                                   9                  2. Whitelisting

                                  10          The Court previously determined that Plaintiffs had pled falsity, scienter, materiality, and

                                  11   reliance as to their whitelisting theory of liability. See August 2020 Order at 65. However, the

                                  12   court dismissed Plaintiffs’ whitelisting claims because the SAC failed to allege loss causation.
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                                  13   The Court instructed Plaintiffs to demonstrate that the stock price fell in June 2018, following the

                                  14   revelation that Facebook secretly allowed certain “whitelisted” app developers to continue to

                                  15   access user data. TAC ¶ 319.

                                  16          In the loss causation analysis, “the ultimate issue is whether the defendant’s misstatement,

                                  17   as opposed to some other fact, foreseeably caused the plaintiff’s loss.” Lloyd v. CVB Fin. Corp.,

                                  18   811 F.3d 1200, 1210 (9th Cir. 2016). A plaintiff must show that the defendant’s misrepresentation

                                  19   was a “substantial cause” of his or her financial loss. Loos v. Immersion Corp., 762 F.3d 880, 887

                                  20   (9th Cir. 2014). To survive a motion to dismiss, a plaintiff “need only allege that the decline in

                                  21   the defendant’s stock price was proximately caused by a revelation of fraudulent activity rather

                                  22   than by changing market conditions, changing investor expectations, or other unrelated factors.”

                                  23   Id.

                                  24          “Typically, to establish loss causation, a plaintiff must show that the defendants’ alleged

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                                        The Court GRANTS Defendants’ request for judicial notice as to Exhibit 7. See Fed. R. Evid.
                                  27   201(b).
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                                   1   misstatements artificially inflated the price of stock and that, once the market learned of the

                                   2   deception, the value of the stock declined.” Irving Firemen’s Relief & Ret. Fund v. Uber Techs.,

                                   3   Inc., 998 F.3d 397, 407 (9th Cir. 2021) (collecting cases). Courts refer to this theory as “fraud-on-

                                   4   the market.” Id. (citation omitted). In this scenario, “the plaintiff must show that after purchasing

                                   5   her shares and before selling, . . . (1) the truth became known, and (2) the revelation caused the

                                   6   fraud-induced inflation in the stock’s price to be reduced or eliminated.” Id. (citation and

                                   7   quotation marks omitted). The second element requires a showing that the revelation of the truth

                                   8   “caused the company’s stock price to decline and the inflation attributable to the misstatements to

                                   9   dissipate.” In re Bofl Holding, Inc. Secs. Litig., 977 F.3d 781, 791 (9th Cir. 2020). This analysis

                                  10   “involves a temporal component.” Irving Firemen’s Relief, 988 F.3d at 407; see also Dura

                                  11   Pharms., Inc. v. Broudo, 544 U.S. 336, 343–44 (2005). “[A] disclosure followed by an immediate

                                  12   drop in stock price is more likely to have caused the decline—but timing is not dispositive.” In re
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                                  13   Bofl Holding, 977 F.3d at 790; see also In re Gilead Scis. Sec. Litig., 536 F.3d 1049, 1057–58 (9th

                                  14   Cir. 2008) (noting that there is not a “bright-line rule requiring an immediate market reaction”).

                                  15          In its August 2020 Order, this Court held that the user control statements were adequately

                                  16   alleged to have been misleading because of Facebook’s “whitelisting practices.” August 2020

                                  17   Order at 38. As the Court noted, the relevant time period is after the revelation of Facebook’s

                                  18   whitelisting practices, which would be after June 3, 2018. TAC ¶ 703. Plaintiffs do not plead a

                                  19   loss until July 26, 2018, which is over a month after the whitelisting practice was revealed. Cf. In

                                  20   re Gilead, 536 F.3d at 1051–58 (allowing a delayed market reaction where the falsity of the

                                  21   alleged misstatements was revealed months later). Plaintiffs have not established a connection

                                  22   between the revelation of Facebook’s whitelisting practice and a stock-drop, and thus have not

                                  23   plead loss causation.3

                                  24

                                  25   3
                                         The Court declines to revisit its earlier ruling as to the drop of the stock prices following the
                                  26   2Q18 Earnings Release. See August 2020 Order at 65–66. Additionally, because the Court has
                                       determined that Plaintiffs have not established scienter as to its Cambridge Analytica theory, it
                                  27   also declines to address loss causation as to this theory.
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                                                                                           13
                                   1                    3. Section 20(a) and 20(A) Claims

                                   2             Plaintiffs also bring claims for violations of Sections 20(a) and (A) of the Exchange Act.

                                   3   Both these claims, however, depend on a primary violation of Section 10(b) or Rule 10b-5. Lipton

                                   4   v. Pathogenesis Corp., 284 F.3d 1027, 1035 n.15 (9th Cir. 2002) (“[T]o prevail on their claims for

                                   5   violations of § 20(a) and § 20A, plaintiffs must first allege a violation of § 10(b) or Rule 10b 5.”).

                                   6   Because the Court determines Plaintiffs’ claim under Section 10(b) and Rule 10b-5 fail,

                                   7   Defendants’ motion to dismiss these claims is also GRANTED.

                                   8                    4. Leave to Amend

                                   9             When dismissing a complaint for failure to state a claim, a court should grant leave to

                                  10   amend “unless it determines that the pleading could not possibly be cured by the allegation of

                                  11   other facts.” Lopez v. Smith, 203 F.3d 1122, 1127 (9th Cir. 2000). This Court has previously

                                  12   dismissed two other complaints, has provided Plaintiffs ample opportunity to cure the deficiencies
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                                  13   identified in those Orders, and has warned Plaintiffs that failure to cure the identified deficiencies

                                  14   would result in dismissal with prejudice. Because Plaintiffs have not remedied those deficiencies,

                                  15   the Court finds that amendment would be futile, and Plaintiffs’ claims are dismissed without leave

                                  16   to amend.

                                  17      III.      CONCLUSION

                                  18             Defendants’ motion to dismiss Plaintiffs’ TAC in its entirety is GRANTED.

                                  19             IT IS SO ORDERED.

                                  20   Dated: December 20, 2021

                                  21

                                  22
                                                                                                      EDWARD J. DAVILA
                                  23                                                                  United States District Judge
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                                       Case No.: 5:18-cv-01725-EJD
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                                       COMPLAINT WITHOUT LEAVE TO AMEND
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